Case 1:14-ml-02570-RLY-TAB Document 22423 Filed 07/26/22 Page 1 of 2 PageID #:
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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s)

___Tiffany McFarlane          _________________

 Civil Case #__1:16-cv-01776-WTL-TAB_______



                       STIPULATED DISMISSAL WITH PREJUDICE

        The parties in the above-captioned case hereby stipulate, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), that Plaintiff’s claims against all Defendants shall be dismissed with

prejudice. Each party shall bear its own fees and costs.



Dated: July 26, 2022


 /s/Scott E. Brady                                 /s/ Andrea Roberts Pierson
 Scott E. Brady, Esq.                              Andrea Roberts Pierson
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 Attorney for Plaintiff
                                                   Attorney for Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of July, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.



                                                    /s/ Andrea Roberts Pierson




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